Dear Ms. Rosenberg:
We are in receipt of your request for an Attorney General's opinion regarding a petition proposing the incorporation of the area of Robert as a municipality of the Parish of Tangipahoa. Specifically, you have requested that we review the petition and supporting documents to advise whether said documents are in compliance with R.S. 33:1 et seq.
LSA-R.S. 33:1(A) provides:
  A.  Residents of any unincorporated area with a population in excess of two hundred inhabitants may propose the incorporation of the area as provided in this Subpart. A petition proposing the incorporation of the area shall be prepared and shall contain the following:
    (1) A legal description of the area proposed for incorporation and the statement that all lands included in the area constitute a contiguous area.
    (2) A statement of the number of inhabitants residing in the unincorporated area. Such statement shall be based on the latest federal decennial census or another current population report or count which is verifiable.
    (3) A statement of the assessed value of the real property located in the unincorporated area.
    (4) A listing of the public services the municipal corporation proposes to render to the area and a plan for the provision of these services.
    (5) A statement of the corporate name desired for the new municipality.
    (6) The names of two or more chairpersons for the petition for incorporation who shall serve as agents for the petitioners in all legal matters, including the receipt of notices. Notice will be sufficient if served on any one of the chairpersons. (Emphasis added).
The petition received by this office contains all of the above listed requirements. Additionally, the registrar certified that the petition contains the required 25% of valid signatures for a special election to be called by the governor. Therefore, it is our opinion that since this petition complies with the requirements of law, R.S. 33:1 et seq., the governor shall call a special election to be held on the next possible special election date specified in R.S. 18:402 for the purpose of determining whether the unincorporated area shall become a municipality. All qualified electors residing within the area proposed for incorporation shall be entitled to vote in the special election and the costs of the special election shall be borne by the parish of Tangipahoa.
If we can be of further assistance, please advise.
Yours very truly,
                            RICHARD P. IEYOUB ATTORNEY GENERAL
                            ___________________________ ANGIE ROGERS LAPLACE Assistant Attorney General
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